4/8/2021          Case 1:21-cr-00117-RCL Document   168-25
                                             Yahoo Mail          Filed
                                                        - Fwd: Ryan      09/30/22 Page 1 of 1
                                                                    Nichols




     Fwd: Ryan Nichols

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Tuesday, April 6, 2021, 05:31 PM CDT




     Sent from my iPhone

     Begin forwarded message:


           From: Susan Goode <cowpokesg@gmail.com>
           Date: April 6, 2021 at 5:12:45 PM CDT
           To: dnichols3270@yahoo.com
           Subject: Fwd: Ryan Nichols



           Danny wrote this. I told him he could not put his personal opinion in there as he was proud of Ryan’s .
           Hope this will be usable.

           ---------- Forwarded message ---------
           From: Danny Goode <dmaxgoode@gmail.com>
           Date: Tue, Apr 6, 2021 at 4:44 PM
           Subject: Ryan Nichols
           To: <cowpokesg@gmail.com>


           As a former football and baseball coach of this young man, he always distributed a very good work ethic
           and respected my rules as a coach. I was a yes sir and no sir kind of a man. He and his little brother
           Travis played along with my son Matt. We had some successes and heart breaks along the way, but we
           always won with grace and lost with dignity. Unfortunately, seems like he may have gotten caught up in
           the moment of this past year's election.With all the changes in election protocol and some
           misguided leadership, he may have made a bad decision. After I coached him, Ryan went on to start a
           sucessfull small business in East Texas.Having said that, I would consider him a good young man. .

           Danny M Goode




                                                                                                                     1/1
